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7

8                             UNITED STATES DISTRICT COURT
9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11
      HILARIO GONZALES,                              Case No: 3:19-cv-00050-JAH-AGS
12

13                         Plaintiff,
14                                                   PLAINTIFF’S VERIFIED FIRST
      vs.                                            AMENDED COMPLAINT FOR
15                                                   ENFORCEMENT OF RESCISSION
                                                     UNDER TRUTH IN LENDING ACT §
                                                     1635 ET. SEQ.
16    BAYVIEW LOAN SERVICING, LLC, a
17    business entity form unknown; CLEAR
      RECON CORP., a business entity forms
18    unknown; and DOES 1-100, inclusive,            JURY TRIAL DEMANDED
19
                           Defendant(s).
20

21    TO THE COURT AND ALL PARTIES HERETO AND THEIR COUNSEL:
22           Plaintiff HILARIO GONZALES (hereinafter “Plaintiff”) sues BAYVIEW LOAN
23    SERVICING, LLC. (hereinafter “BAYVIEW”) and CLEAR RECON CORP (hereinafter
24    “CRC”) for Enforcement of Rescission under Truth in Lending Act (“TILA”) § 1635 et.
25    seq.
26           The below First Amended Complaint consists of allegations at both law and equity,
27    and the allegations below will variously sound in either or both, law and/or equity.
28    ///



                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 1
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1
                              I.     PARTIES AND JURISDICTION
2

3
             1.     Plaintiff, HILARIO GONZALES, is a resident of San Diego County,
4
      California. He owns and has legal and equitable possession of the real property located at:
5
      30945 Cuvaison, Bonsall, CA 92003. All acts complained of herein occurred within the
6
      territorial jurisdiction of this court lying in SAN DIEGO COUNTY, CALIFORNIA.
7
             2.     Defendant CRC is located at 4375 Jutland Drive Suite 200, San Diego, CA
8
      92117. CRC is acting as a purported trustee of Plaintiff’s deed of trust. CRC is a California
9
      corporation. The company's filing status is listed as Active and its California Corporate
10
      Number is C3521772. The Registered Agent on file for this company is CT Corporation
11
      System (c0168406). The company has 3 principals on record. The principals are Steven
12
      W. Pite from San Diego CA, Arianna L. Black from San Diego, CA, and Jeffrey T. Garrity
13
      from San Diego, CA.
14
             3.     Defendant BAYVIEW LOAN SERVICING, LLC. is located at 4425 Ponce
15
      De Leon Boulevard, 5th Floor, Coral Gables, FL 33146. Bayview is acting as the purported
16
      servicer an improper loan number 1108218 of Plaintiff’s rescinded Deed of Trust.
17
      Bayview is a Delaware corporation. The company's filing status is listed as Active and its
18
      California Corporate Number is 200327210147. The Registered Agent on file for this
19
      company is Corporation Service Company dba CSC Lawyers Incorporating service
20
      (c0168406). The company has 1 principal on record. The principal is David Ertel from
21
      Coral Gables, FL.
22
             4.     Non-party      COUNTRYWIDE          HOME      LOANS,      INC.    (hereinafter
23
      “COUNTRYWIDE” or “CHL”) is a New York Corporation, who always mentioned
24
      herein is and was conducting business in the State of California. CA Secretary of State
25
      Historical Records show 125 registration of 125 entities with first name of
26
      COUNTRYWIDE as surrendered, terminated or merged out.
27

28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 2
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1
             5.      Non-party AMERICA’S WHOLESALE LENDER, a New York
2
      corporation (hereinafter “AWL”) is the named Lender under the purported deed of trust
3
      dated July 6, 2006 made by HILARIO GONZALES, AND DAWN MELKUS-
4
      GONZALES, HUSBAND AND WIFE AS COMMUNITY PROPERTY WITH RIGHTS
5
      OF SURVIVORSHIP.
6
                                        II.     JURISDICTION
7
             6.      Pursuant to 28 U.S.C. § 1331 – Federal Question, “The district courts shall
8
      have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
9
      of the United States.”
10
             7.      Pursuant to 28 U.S.C. § 1332, the amount in controversy meets the federal
11
      standard.
12
             8.      The corpus of this Complaint is centered on federal questions, as
13
      contemplated by the Codes, id. Thus, Jurisdiction is proper in this court.
14
                                              III.   VENUE
15
             9.      Pursuant to 28 U.S.C. § 1391, venue is proper in this court because a
16
      substantial part of the events giving rise to this Complaint occurred in this district.
17
                                 IV.     FACTUAL ALLEGATIONS
18
             10.     Upon information and belief and by published statements made by
19
      Defendants, Plaintiff hereby alleges the following facts:
20
             11.     Plaintiff alleges that he rescinded his refinanced home loan under the Truth
21
      in Lending Act for failure to give proper disclosures.
22
             12.     Plaintiff’s real property that is the subject of the disputed loan is known as
23
      30945 Cuvaison, Bonsall, CA 92003-6119, APN 128-490-07-00 (“Subject Property”).
24
             13.     This suit relates to a residential loan transaction encompassed by 15 U.S.C.
25
      §1635(b); Reg. Z. 1026.23.
26

27

28




                     PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                            ENFORCEMENT OF RESCISSION - 3
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.180 Page 4 of 39



1
             14.    A purported Deed of Trust (“DOT”) dated June 26, 2006, was recorded in
2
      the office of the San Diego County Recorder on July 6, 2006 as Instrument No. 2006-
3
      0476641, naming “America’s Wholesale Lender” as the Lender.
4           15.   The purported Note and Deed of Trust on the Subject Property are
5
      hereinafter referred to as the “Subject Loan” or “Debt Obligation.”
6

7            16.    Plaintiff was not provided accurate material disclosures or two copies of

8     Notices of Right to Cancel in a form he could take home from the closing.
9
             17.    The parties to the Subject Loan were misrepresented.
10

11
             18.    The Note and Deed of Trust state they were signed June 23, 2006 but the

12    loan was not “consummated” on June 23, 2006, because consummation is defined as
13
      [c]onsummation means the time that a consumer becomes contractually obligated on a
14

15
      credit transaction.” 1026.2(13). “Creditor” means “A person who regularly extends

16    consumer credit that is subject to a finance charge or is payable by written agreement in
17
      more than four installments (not including a down payment), and to whom the obligation
18
      is initially payable, either on the face of the note or contract, or by agreement when there
19

20    is no note or contract.” 1026.2 (17). The Note claimed to be payable to America’s
21
      Wholesale Lender.
22
             19.    Plaintiff was not provided with two copies of a Notice of Right to Cancel
23

24    giving “clear and conspicuous” notice of the time to cancel by a creditor with correct
25
      notice of the number of days he had to cancel after a valid consummation of his loan.
26
             20.    Plaintiff signed certain loan documents on June 23, 2006, including a Note
27

28    and Deed of Trust. He received no proper Notice of Right to Cancel, and certainly did



                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 4
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.181 Page 5 of 39



1     not receive two correct copies, giving accurate material disclosures, in a form he could
2
      take home.
3

4              21.   Plaintiff signed loan documents on June 23, 2006. But the documents he

5     signed were not consummated by a creditor in June 2006, or at all. The address given was
6
      not that of the “creditor” or Lender listed as America’s Wholesale Lender on the Deed of
7

8
      Trust.

9              22.   The Subject Loan was not consummated as disclosed within the meaning of
10
      the Truth in Lending Act.
11
               23.   On or about February 15, 2015 Bayview Loan Servicing claimed to be the
12

13    servicer for the Subject Loan under a Fabricated Loan Account Number.
14
               24.   Unaware at the time that the Subject Loan was not consummated with
15
      proper disclosures by a party with authority to act, Plaintiff made payments on the Subject
16

17    Loan. In early 2016, due to economic conditions outside of his control, Plaintiff suffered
18
      a reduction in income from his businesses.
19
               25.   In addition, Plaintiff’s wife was diagnosed with Cancer and passed around
20

21    on July 24, 2016.
22
               26.   Plaintiff contacted Bayview, an entity that he thought was an authorized
23
      loan servicer, and requested assistance on his mortgage. As instructed, Plaintiff submitted
24

25    a financial package to Bayview in order to be reviewed for a Joan modification.
26

27

28




                     PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                            ENFORCEMENT OF RESCISSION - 5
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.182 Page 6 of 39



1           27.    At no time did (or could) Plaintiff waive his right to rescind under the Truth
2
      in Lending Act, in writing under very specific conditions as required by TILA, or
3

4     otherwise.

5           28.    However on November 30, 2016, , while Plaintiff was in review for a loan
6
      modification, Defendants BAYVIEW and CRC recorded a Notice of Default and Election
7

8
      to Sell Under Deed of Trust (the “Notice of Default”) against the Subject Property.

9           29.    The NOD contained a materially false Declaration of Mortgage Servicer
10
      Pursuant to Civil Code §2923.55(b)(2) (“Declaration”), whereby an authorized agent or
11
      employee of the mortgage servicer, Bayview, declared that it contacted the borrower
12

13    pursuant to California CiviJ Code §2923.55(b)(2) to “assess the borrower’s financial
14
      situation and explore options for the borrower to avoid foreclosure. Thirty (30) days or
15
      more have passed since the initial contact was made.” The Declaration is dated November
16

17    16, 2016”. The Declaration was signed by representative Gregory Harrison- State
18
      Declaration Processor Loss Mitigation, whom Plaintiff had no contact with and who
19
      falsely certified the declaration to be accurate, complete and supported by competent and
20

21    reliable. Bayview serviced the debt obligation until TILA Rescission by mail on
22
      September 13, 2016.
23
            30.    Plaintiff rescinded the Note and Deed of Trust by operation of law by
24

25    mailing written notice dated September 13, 2016 that clearly and unequivocally stated “I,
26
      Hilario Gonzales, hereby rescind the above-referenced loan and financial instruments,
27

28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 6
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.183 Page 7 of 39



1     pursuant to the provisions of the Truth in Lending Act.” A true and correct copy of the
2
      Rescission Letter is attached hereto and incorporated by reference as Exhibit 1.
3

4            31.    Plaintiff is still owed a refund of all interest, finance charges, and payments

5     made on the rescinded loan. 15 U.S.C. § 1635(b); Off. Interp. § 1026.23(d)(2)-
6
             32.    This refund, combined with the creditor’s affirmative acts in furtherance of
7

8
      affirmation of the voiding of the security interest, are conditions precedent to any

9     obligation by the borrower to tender either loan proceeds or the real property. 15 U.S.C.
10
      § 1635(b); Reg. Z §§ 1026.15(d)(3), 1026.23(d)(3). Jesinoski v. Countrywide Home
11
      Loans, 135 S. Ct. 790, 793 (2015) (the Act disclaims and re-orders the common-law
12

13    condition precedent to rescission at law that the borrower first tender the proceeds received
14
      under the transaction; the creditor must first refund the money and acknowledge the
15
      dissolution of the security instrument).
16

17           33.    No creditor and no valid assignees performed within the statutory time
18
      limitations and therefore waived and are barred and estopped from seeking equitable
19
      reordering of the remaining steps of rescission.
20

21           34.    From September 13, 2016 to the present, there was no deed of trust or
22
      security instrument on the real Property.
23
             35.    By letter dated November 19, 2016 Plaintiff notified new servicer Bayview
24

25    Loan Servicing of the previous TILA rescission. A true and correct copy of the Letter
26
      Notice is attached hereto and incorporated by reference as Exhibit 2.
27
             36.    At all relevant times, BAYVIEW held itself out as an agent of AWL.
28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 7
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1            37.      Defendant CRC held itself out as an agent of COUNTRYWIDE, and then
2
      BAYVIEW.
3

4            38.      Defendant CRC held itself out as an agent of BAYVIEW and AWL. CRC

5     purported to be the trustee under the subject Deed of Trust, even after the Deed of Trust
6
      was rescinded and void.
7

8
             39.      At all relevant times, BAYVIEW and AWL had knowledge, control, and

9     responsibility for the acts of its agents. In addition, AWL ratified and delegated authority
10
      to its agents via powers of attorney and remained responsible for the acts of its agents or
11
      purported agents.
12

13           40.      Plaintiff is currently unaware of the identity and capacity of DOES 1
14
      through 100 but will amend the Complaint when their identities have been ascertained.
15
      Plaintiff alleges upon information and belief, however, that each and every presently
16

17    unknown defendant is in some manner responsible for the acts or conduct of other
18
      Defendants or were and/or are responsible for the injuries, damages, and harm incurred
19
      by Plaintiff.
20

21    ///
22
      ///
23
      ///
24

25    ///
26
      ///
27
      ///
28




                      PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                             ENFORCEMENT OF RESCISSION - 8
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1                                        CAUSES OF ACTION
2
                       ENFORCEMENT OF RESCISSION UNDER TRUTH IN
3

4                                   LENDING ACT § 1635 ET. SEQ.

5                                       (Against All Defendants)
6
             41.       Plaintiff incorporates by reference and includes paragraphs 1-31 as if fully
7

8
      stated herein.

9            42.       The Loan was a consumer credit transaction subject to Plaintiff’s right of
10
      rescission as described by 15 U.S.C. §1635 and Regulation Z §1026.23.
11
             43.       Plaintiff was a consumer within the meaning of 15 U.S.C. §1602(i)[1602(h)
12

13    prior to Dodd-Frank amendments] and Regulation Z §1026.2(a)(11) [formerly
14
      §226.2(a)(11)].
15
             44.       The disclosure statement issued in conjunction with this transaction
16

17    understated the annual percentage rate, and finance charges, material disclosures as
18
      defined in 15 U.S.C.§1602(v)[§1602(u) prior to Dodd-Frank amendments], Regulation Z,
19
      §1026.23(a)(3)(ii) [formerly §226.23 n. 48].
20

21           45.       The finance charge and APR were under-disclosed by more than the
22
      tolerance levels set forth in 15 U.S.C. §1635(f).
23
             46.       The creditor failed to deliver to the Plaintiff two copies of a notice of the
24

25    right to rescind in a form he could take home that correctly identified the transaction and
26
      that clearly and conspicuously disclosed the proper period and circumstances for
27

28




                       PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                              ENFORCEMENT OF RESCISSION - 9
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1     rescission, violating 15 U.S.C. §1635(a) and Regulation Z §1026.23(b)d [formerly
2
      §226.23(b)].
3

4             47.    As COUNTRYWIDE proclaims itself the assignee of originating creditor
5     AMERICA’S WHOLESALE LENDER or any subsequent assignee, COUNTRYWIDE
6     is liable as an assignee under 15 U.S.C. §1641(a) and the Notice of Rescission was
7     properly sent to COUNTRYWIDE and AWL pursuant to 15 U.S.C. §1641 (c). AWL and
8     Countrywide are non-party entities, and not named Defendants, solely due to their defunct
9     status, and the inability to serve them legal process of service.
10            48.    AWL, COUNTRYWIDE and BAYVIEW are liable under the Truth in
11    Lending Act as a creditor or alleged successor creditor.

12
              49.    AWL is liable for the acts of its agents and sub-agents under general
13
      principles of agency and under vicarious liability provisions of 15 U.S.C. §1641(f)(2).
14
              50.    Further, all assignees are liable for violations of which they have knowledge.
15
      AWL, COUNTRYWIDE, and BAYVIEW are presumed to have knowledge of the
16    Recorded Documents at issue in this case, including the Notice of Rescission and associate
17    documents.
18            51.    Defendants, and each of them, have continuously failed to honor the first
19    step of the rescission, completed by the provision of the Notice of Rescission in September
20    2016.
21            52.    Every month, continuing to the date this Complaint was filed, BAYVIEW
22    and its agents continue to charge Plaintiff without recognizing that the Deed of Trust and
23    Note are void.
24            53.    Every month, continuing to the date this Complaint is filed, BAYVIEW and
25    its agents refuse to credit Plaintiff with the interest and refund due him after serving the
26    Notice of Rescission.
27            54.    Every month, continuing to the date this Complaint is filed, BAYVIEW,
28    and CRC fail to honor the Notice of Rescission.



                     PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                            ENFORCEMENT OF RESCISSION - 10
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1
             55.    AWL, BAYVIEW, and COUNTRYWIDE are barred by the statute of
2
      limitations from denying that step one of the rescission occurred because collectively or
3
      individually they failed to sue for an equitable re-ordering of the steps within initially 20
4
      calendar days, and then one-year from the date the Notice of Rescission was rendered, or
5
      ever since then.
6
             56.    AWL, BAYVIEW, and COUNTRYWIDE are barred by waiver, estoppel,
7
      claim preclusion, and judicial estoppel from denying that it has refused to honor the first
8     step of rescission, which occurred by operation of law. Jesinoski v. Countrywide Home
9     Loans, Inc, 135 S.Ct. 790, 792 (2015).
10           57.    AWL, BAYVIEW, and COUNTRYWIDE have violated 15 U.S.C.
11    §1640(a)(3) by failing to honor a valid rescission demand and basing its monthly
12    accounting for Plaintiff’s loan on such failure.
13           58.    COUNTRYWIDE            HOME          LOANS,     INC.     and    AMERICA’S
14    WHOLESALE LENDER, and BAYVIEW on their own and via purported agents, failed
15    to promptly credit payments. Each month, those amounts still appear on their statement.
16    Defendants have violated 15 U.S.C. §1641f. Pub. L. No. 111-22 §404(b), 123 Stat. 1632
17    1632, 1658 (2009).
18           59.    To the extent BAYVIEW LOAN SERVICING, asserts that proffered loan
19    modification agreements were conditioned on waiver of any statutory causes of action
20    belonging to Plaintiff, Plaintiff did not accept such loan modifications. What is more,

21    such a condition on modification itself violates 15 U.S.C. §1639. Reg. Z 1026.24(e):

22    consumer may not waive right to rescind unless it demonstrates the credit was needed for

23
      a “bona fide personal financial emergency” and the consumer “shall” give the creditor a

24
      dated written statement that describes such emergency, “specifically modifies or waives
      the right to rescind, and bears the signature of all the consumers entitled to rescind.” Reg.
25
      Z §1026.24(e). Official Interpretation §1026.15(e). Printed forms may not be used. Reg.
26
      Z §1026.24(e).
27
             60.    AWL, BAYVIEW, and COUNTRYWIDE have impermissibly pyramided
28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 11
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1
      late fees, by assessing late fees only based on other late fees themselves, in violation of
2
      Reg. Z §1026.36(c)(2) (effective Jan. 10, 2014) but previously prohibited by the former
3
      FRB Rule within Reg. Z interpreting the Truth in Lending Act. (Official Interpretations
4
      to Reg. Z, ¶ 36(c)(1)(ii)-1 (effective prior to Jan. 10, 2014); 73 Fed. Reg. 44,522, 44,614
5
      (July 30, 2008)).
6
                61.    BAYVIEW, and CRC are liable to Plaintiff for statutory damages of an
7
      amount to be determined at trial for failure to respond properly to Plaintiff’s rescission
8     notice.
9               62.    BAYVIEW, and CRC are liable to Plaintiff for actual damages in an amount
10    to be determined at trial.
11              63.    BAYVIEW, and CRC are liable to Plaintiff for reasonable costs of this
12    action including reasonable attorney fees.
13              64.    The improper assessment of charges, and the assessment of false amounts
14    due are actual damages to Plaintiff.
15              65.    Plaintiff was damaged by having to hire an attorney to bring these claims to
16    mitigate his damages.
17              66.    Plaintiff suffered anxiety, stress, anger, humiliation, shame, and disruption
18    of his work and life enjoyment.
19              67.    Plaintiff is also entitled to statutory damages, and attorney fees and costs for
20    AWL, BAYVIEW, CRC, and COUNTRYWIDE’s violations of TILA.

21
                68.    Section 1635 of TILA provides in relevant part the following:
22

23                     a.     Except as otherwise provided in this section, in the case of any
                consumer credit transaction ... in which a security interest ... is or will be retained
24
                or acquired in any property which is used as the principal dwelling of the person
25              to whom credit is extended, the obligor shall have the right to rescind the
26              transaction until midnight of the third business day following the consummation of
                the transaction or the delivery of the information and rescission forms required
27
                under this section together with a statement containing the material disclosures
28




                       PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                              ENFORCEMENT OF RESCISSION - 12
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1           required under this subchapter, whichever is later, by notifying the creditor, in
2           accordance with regulations of the Board, of his intention to do so ....
3
                     b.      When an obligor exercises his right to rescind under subsection (a)
4           of this section, he is not liable for any finance or other charge, and any security
5           interest given by the obligor, including any such interest arising by operation of
            law, becomes void upon such rescission. Within 20 days after receipt of a notice of
6
            rescission, the creditor shall return to the obligor any money or property given as
7
            earnest money, down payment, or otherwise, and shall take any action necessary
8           or appropriate to reflect the termination of any security interest created under the
9
            transaction. If the creditor has delivered any property to the obligor, the obligor
            may retain possession of it.
10
                     (c)     Upon the performance of the creditor's obligations under this
11          section, the obligor shall tender the property to the creditor, except that if return
12
            of the property in kind 'would be impracticable or inequitable, the obligor shall
            tender its reasonable value. Tender shall be made at the location of the property
13
            or at the residence of the obligor, at the option of the obligor. If the creditor does
14          not take possession of the property within 20 days after tender by the obligor,
15          ownership of the property vests in the obligor without obligation on his part to pay
            for it. The procedures prescribed by this subsection shall apply except when
16
            otherwise ordered by the court ....
17                   (f) An obligor's right of rescission shall expire three year's after the date of
18          consummation (Emph. added) of the transaction or upon the sale of the property,
            whichever occurs first. ...
19
                     (g) In any action in which it is determined that a creditor has violated this
20          section, in addition to rescission the court may award relief under section 1640 of
21          this title for violations of this subchapter not relating to the right to rescind.
22
            15 U.S.C. § 1635.
23

24          Section 1640 provides in relevant part the following:
25
            c.     Except as otherwise provided in this section, any creditor who fails to
26          comply with any requirement imposed under this section, including any
27          requirement under section 1635 of this title or part D or E of this subchapter with
28
            respect to any person is liable to such person in an amount equal to the sum of-



                   PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                          ENFORCEMENT OF RESCISSION - 13
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1                  i. any actual damage sustained by such person as a result of the failure;
2            (2)(A)(i) in the case of an individual action twice the amount of any finance charge
             in connection with the transaction, ... except that the liability under this
3
             subparagraph shall not be less than $ 100 nor greater than $ 1,000 ".; and
4            (3) in the case of any successful action to enforce the foregoing liability or in any
5            action in which a person is determined to have a right of rescission under section
             1635 of this title, the costs of the action, together with a reasonable attorney's fee
6
             as determined by the court.
7

8            69.    Plaintiff alleges that he lawfully rescinded his loan pursuant to the above
9
      authorities. See Exhibit 1.
10
             70.    Plaintiff sent notice to Defendants and such notice was received by
11

12    Defendants on or about October 1, 2016. Plaintiff alleges that he did not have, and could
13
      not have had, a reasonable opportunity to discover the material disclosure breaches until
14
      very recently due to the active misrepresentations by Defendants contradicting the identity
15

16    and authority of the Lender and Successor Lenders under Plaintiff’s purported Deed of
17    Trust, the servicer and the servicer’s role on the Subject Loan, and the source of funding
18
      at closing. To cap off the confusion, the Subject Loan appears to have been designated
19

20    for a mortgage-backed-securities pool of loans involving SECRET LIEN HOLDERS.
21           71.    Plaintiff alleges that the purported assignee of the lender failed to perform
22
      its obligations under TILA 1635 (b) within the statutory 20 days and is estopped from any
23

24    defense to the rescission by operation of the statute. The 20 days ran under the statute, id.,

25    and Defendants’ BAYVIEW and CRC, having timely notice as agents for the purported
26
      beneficiary, elected to waive their defenses. The violation is perfected as of September
27

28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 14
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.191 Page 15 of 39



1     13, 2016, and the court has a duty to enforce the terms of the statute strictly against
2
      Defendant and liberally in favor of Plaintiff.
3

4            72.    Plaintiff alleges that Defendant BAYVIEW, acting directly or via agents

5     such as Defendant CRC, have each claimed to be an agent for a lender beneficiary,
6
      sometimes naming that lender beneficiary as Non-Party AWL, and at other times claiming
7

8
      that Non-Party COUNTRYWIDE had been the actual lender beneficiary and not just the

9     servicer. As such, Defendants BAYVIEW, and CRC are liable.
10
             73.    Plaintiff alleges that his loan transaction never “consummated” in escrow or
11
      title and that it has never “consummated” as that term is contemplated under TILA. As
12

13    such, Plaintiff’s right to rescind was timely exercised. As alleged Supra in this complaint,
14
      the original “Lender” named in Plaintiff’s deed of trust failed to properly disclose terms,
15
      parties and conditions, that were found to be material, and how the loan was structured,
16

17    funded, and the attendant fees and costs attributed without Plaintiff’s knowledge.
18
             74.    Plaintiff HILARIO GONZALES repeatedly notified the Defendants of his
19
      rescission under the Truth in Lending Act, 15 U.S.C. §1635(a), §1635(f). Defendants took
20

21    no steps to contest the rescission, and failed to refund Plaintiff all money, interest and
22
      charges paid to any purported creditor within twenty days, as required. 15 U.S.C. §
23
      1635(b); Off. Interp. § 1026.23(d)(2)-1.
24

25    ///
26
      ///
27
      ///
28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 15
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.192 Page 16 of 39



1            75.     The rescission was effective automatically, as a matter of law, and voided
2
      the Note and Deed of Trust.1 This first step occurs “by operation of law” upon the
3

4     borrower’s mailing of a notice, whether “disputed or non-disputed.” Jesinoski v.

5     Countrywide Home Loans, Inc, 135 S.Ct. 790, 792 (2015) (TILA “nowhere suggests a
6
      distinction between disputed and undisputed rescissions, much less that a lawsuit would
7

8
      be required for the latter.”)

9            76.     The Truth in Lending Act re-orders common law rescission and requires
10
      only that the borrower provide valid notice, and rescission happens by operation of law.
11
      Next, the creditor must take certain steps to reflect that the security instrument is shown
12

13    to be void, and that certain moneys paid by the borrower are refunded, BEFORE the
14
      borrower has any obligation to tender back the loan obligation or any corporate financial
15
      lien undisclosed to the Borrower Gonzales IN EQUITY PERSONAM.
16

17           77.     The Deed of Trust is void and does not secure the Subject Property. There
18
      can be no legal foreclosure judgment because there is no security interest.
19
             78.     Plaintiff asks relief from this court to enforce the strict language of TILA in
20

21    the statute named herein and hold Defendants liable to cancel the deed, as directed by the
22

23
             1   Rescission is effective when the consumer notifies the consumer’s intent to rescind.
24    Rescission happens automatically, and no court order is necessary. Jesinoski v. Countrywide
      Home Loans, Inc., 135 S. Ct. 790, 792 (2015); 15 U.S.C. § 1635(b) (“When an obligor exercises
25
      his right to rescind . . . , any security interest given by such obligor . . . becomes void upon such
26    a rescission.”). Reg. Z §§ 1026.15(d)(1), 1026.23(d)(1) (“When a consumer rescinds a
      transaction, the security interest giving rise to the right of rescission becomes void . . . ) See also
27    Brief for CFPB as Amicus Curiae, Rosenfield v. HSBC Bank, USA, 681 F.3d 1172 (10th Cir.
      2012).
28




                      PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                             ENFORCEMENT OF RESCISSION - 16
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.193 Page 17 of 39



1     statute, and return all of the money paid into the contract by Plaintiff. Upon Defendant’s
2
      performance of their obligations under the statute, Plaintiff shall return the property to the
3

4     authenticated beneficiary upon a showing to this court that a valid beneficiary, with proof

5     of consideration paid for the contract, as determined by this court. Attorney’s fees and
6
      restitution for all damages incurred, and as a set-off against the amount owed by Plaintiff
7

8
      under the rescission as a result of Defendant’s acts, are also requested and shall be

9     quantified at the time trial.
10
             WHEREFORE, Plaintiff requests and prays for the following relief:
11

12           1.      That the court award Plaintiff statutory damages of $4,000 under the Truth
13    in Lending Act for failing to respond properly to Plaintiff’s rescission notice.
14           2.      That the court award Plaintiff’s statutory damages of $4,000 for each
15    disclosure violation of the Truth in Lending Act.
16           3.      That the court award Plaintiff all actual damages as shown under the Truth

17    in Lending Act or under any other applicable basis according to proof at trial.

18           4.      That the court award Plaintiff’s costs and reasonable attorney fees according

19
      to proof at trial under the Truth in Lending Act;

20
             5.      That the court award all statutory damages according to proof at trial as
      permitted and applicable to the facts and law of this case.
21
             6.      That the court award actual damages for mental distress according to proof
22
      at trial as available under federal or state statute;
23
             7.      That the court award punitive damages according to proof at trial as
24
      permitted under the facts and law of this case.
25
             8.      That the court order BAYVIEW and CRC and their agents, employs, heirs
26
      or assigns to record a Release and Reconveyance of the Deed of Trust as of September
27
      13, 2016;
28




                     PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                            ENFORCEMENT OF RESCISSION - 17
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.194 Page 18 of 39



1
             9.     That the court order the Note cancelled, void, and of no force or effect;
2
             10.    That the court order that the Plaintiff’s estate is established in Plaintiff, and
3
      that Defendant and its predecessors, agents, representatives, assigns, employs, heirs, or
4
      contractors be barred and forever estopped from having or claiming any right or title to
5
      the premises adverse to Plaintiff HILARIO GONZALES;
6
             11.    That the court restrain, enjoin, and permanently enjoin any foreclosure on
7
      the Subject Property arising through the void and rescinded Deed of Trust;
8            12.    That the court enter any and all legal and equitable orders as are necessary
9     or appropriate under the facts and law of this case;
10           13.    Award of Attorney’s fees and costs pursuant to 15 U.S.C. §1639(b) or any
11    applicable statute or contract.
12           14.    Pre- and post-judgment interest as allowable by law.
13           15.    Any such further relief, IN LAW OR IN EQUITY, see Exhibits 3 and 4,
14    including injunctive or other such declaratory relief, to which Plaintiff is entitled.
15                                         JURY DEMAND
16           Plaintiff demands a trial by jury as a matter of right.
17

18                                        Respectfully Submitted,
19
                                          LAW OFFICE OF CHARLES T. MARSHALL
20

21    Dated: April 22, 2019                /s/ Charles T. Marshall
                                          Attorney for Plaintiff,
22
                                          HILARIO GONZALES
23

24

25

26

27

28




                    PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                           ENFORCEMENT OF RESCISSION - 18
Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.195 Page 19 of 39




 l                                               VERIFICATION
 2
      I, HfLARTO GONZALES, declare as follows:
 3
            I am the Plaintiff in this action, and I hereby declare I have read the foregoing Verified First
 4
      Amended Complaint and know the contents thereof and believe that the matters stated therein are
 5    true of my own knowledge, except as to those matters which are therein alleged on information and
 6    belief, and as to those matters, I believe them to be true.
 7          l hereby declare under the penalty of perjury, that the foregoing is true and correct
 8                           exec1ll.ted this April 19, 2019 in Bonsall, California.
 9

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                                                  VERIFICATION
     Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.196 Page 20 of 39



1                                    CERTIFICATE OF SERVICE
2
             At the time of service, I was over 18 years of age and not a party to this action. I am
3     employed in the County of Los Angeles, State of California. My business address is 222 West
      6th Street, Suite 400, San Pedro, CA 90731.
4

5
           On April 23, 2019, I caused to be served a true and correct copy of PLAINTIFF’S
      VERIFIED COMPLAINT FOR ENFORCEMENT OF RESCISSION UNDER TRUTH
6     IN LENDING ACT § 1635 ET. SEQ. on the following parties in this action,
7      X BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
      document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
8
      who are registered CM/ECF users will be served by the CM/ECF system. Participants in the
9     case who are not registered CM/ECF users will be served by mail or by other means permitted
      by the court rules.
10

11                                       Austin Robert Henderson
                                      ahenderson@klinedinstlaw.com
12                                            Klinedinst PC
                                      501 West Broadway, Suite 600
13                                      San Diego, CA 92101-3594
14                                          Tel: (619)239-8131
                                            Fax: (619)238-8707
15                        Attorneys for Defendant, Bayview Loan Servicing LLC.
16
       X BY UNITED STATES MAIL, I am "readily familiar" with the practice of collection and
17    processing correspondence for mailing. Under that practice, it would be deposited in a box or
      other facility regularly maintained by the United States Postal Service with First-Class postage
18    thereon fully prepaid that same day at San Pedro, California, in the ordinary course of business.
      I am aware that on motion of party served, service is presumed invalid if postal cancellation date
19
      or postage meter date is more than one day after date of deposit for mailing in affidavit.
20
                                          CLEAR RECON CORP
21                                      4375 Jutland Drive, Suite 200
22
                                           San Diego, CA 92117

23         I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
24

25    Dated: April 23, 2019
                                                                /s/ Melissa N. Alvarez
26                                                                  MELISSA N. ALVAREZ
27

28




                     PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT FOR
                            ENFORCEMENT OF RESCISSION - 20
Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.197 Page 21 of 39




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  NO¶CE To Any Corporate O簡cer Respo鳩l馴e For aIe'lt AccountIng and Risk Managem帥t:



  please respect ou「 knowledge… You and your entitles have failled to meet the mandatorY O帥gations

  of my Statutory Rescission effective Septonber 13・ 2O16. By operation of law・ We/you are herebv

  ente血g the enforcement phase ofThe Trut'一一n Lending Act and 〃Regl厄tion Z〃 of The Federal
  Reserve Board.   ,



  AII debt coIIection and/o川en forecIos…e aCtivitY WaS terminated by ou「 cancellation of a subject

  Note, Deed of Trust and/or Secu嗣Zation血St. Lender佃) and parties with standing have failed to
          汗言古30 days afterSeptembe「 13I 2016/ by initiating a legai acticn, by retur高ingthe
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  BankofAmerica ’,

  450 America St「eet

  Simi Va=ey, CA 92003


  RE: Acoount # 0136704387, APN 128490TO7吋0


  ACT10N:帥FORCEMENT OF TlUl鵬SCI!削IN ON My lJ肌D TITLE AND REAしPROP駅TYしOCAl唯D
  AT: 3094らCuvalson. Bon5alI, α1 92003J6119


  NOTICE To Any Corporate O簡Cer Responslble For alent Ac∞untlng and RIsk M嵐nagement:


  PIease 「espect our knowIedge・・・ You and your entities have fa=ed to meet the mandatory obIigations

  of my Statutory Rescission effective Saptembe「 13, 2O16・ By operatton of law. we/you are hereby

  ente而g the enforcement phase of The Truth In Lending Act and 〃Reg而tion Z" of The FederaI

  Reserve Board.


  AII debt co=ection and/o川en forecIosure activity was terminated by our cancellation of a subject

  Note, Deed of Trust and/or Secu聞zation Trust. Lender佃) and parties with standing have failed to

  ∞mPly within 3O days afte「 Septembe「 13′ 2O16′ by in舶ting a legaI action′ bv returning the

  canceled note, by satisfylng their mortgage, and by rotuming a= monies to the borrower.


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  My unilate「al election to 「escind became offective based upon a unanimous decision of The Supreme

  Court of the United States in 」esinoskl v. (buntrywide, 」anuary 13, 2015.



  PIease govern yourseIf, emPIoyees and紳ucIaries to prepa「e expeditiously for a Just Resolution.




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                                                               He「siDこ         CASD“」GA2                     FAX:760-692-4499        覇 」 」 婁
         義 之DRATFundingRequest?
              竜 王 BETA:NoWarranty                                  San Diego County                          Opinion2@Yahoo.com
                1N丁ERMEDIARIES                                     30945      Cuvaison                               APPし1CATIONDATE:

                  DOCUMENTED                               BonsaII, CA 92003“6119

               A.BoRROW日R/D且B丁ORノR日A」丁Y/」oÅN       B.CR日DI丁OR/lNV且S丁OR/S且CR且丁LIEN
                ′′CoLLA7EHA上方乙A7-IONtsSuES′′_鍋FA角# ′場言Cu月yT椎乙亀77CW僚Su鯵′′尉官俄巴的アY

                PROPERTYAPN: IZ日一問8-□7-帥                                      41 SECURiTY CUSIP/しEI                  721呂2端紺
         獲
         2      Agent:                     即日「!日S Ko即日                        42 Accountants:                KPMG, LしC
         2
         4      Appraiser (RE):                                               43 Administrator(Bond):        Countrywide GP
         与
         6      Assignee:                                                     44 Agent 〈Calculations):       Count「ywide Financial Corporation
         了      Assignor                                                      45 Agent (F帖ng):               Eamst & Young, LしP
         8
         9      Attomey-in Fact:                                              46 Appraiser l (Bond):
         叩
         1      Accountant/Audito「:                                           47 Aggregator/Sponsor:         BANA
                Beneficiarγ:              M駅§                                 48 Assignee:
         1
         1       Borrower/Trustor:   打電R明l Es書日tた§日「Vi甘eS                     49 Attomey-in-Fact:
         2
         1       Broker (Loan):                                               50 Beneficiary:                Countrywide Financial Corporation
         3
         1       Broker (ReaItor):                                            51 Brokerage (Security):
         4
                Case Number (しega看):雷7"Z□17・田口Z454E"回り・O剛電                    52   Bond Servicer;
         1
         与      Ciient-s Attorney:    帥日「iたS M甘r§h訓                           53 Conduit/REMIC(S):
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                Court:                    帥H 8田口A珊                            54 CDO/CLO/iSDA:
         6
         1       Grantee/Deed Owner: Hii糾i。帥nz日l巳S                            55   CDS Parties:
         7                                                                    56 Custodian:                   US Bank NA
                 HOA/Mgmt Co:           nl]ne
         1
         8       Lender l:             Am即i聞S Whl]il:SaIe Lendた「              57 Depositor/SPE Sponso「:      CWALT / BA Funding Corporation
         1
         9       Lender 2:              帥unt「ywidた                            68   Funder:                    BA「C
         2
         0       Loan Amount(s):           Sl即叩0□                             69   GrantorTrustee:
         2       しoan Mod:            i問ロm申et巳                                60 lnsurer(s):
         1       Loan Number:             =問Z18                               61 1nvestor(S):
〈   22   LoanO「iginator:                                                      62 1RS identification #:        9与-4与96与14

         23     Loan Packager:        聞nk9fAm各面日, N.A.                        63 1ssuer:                      CWALT, inc.
         24     Loan Riders:                                                  64 Market Maker:
          25   Loan Servicer(s):      BA巳L叩n §た「ViI:i叩                        65   Master Servicer:           BAC Home Loan Servicing
          26    MERS Custodian:        BankofAm各「i聞,N.A.                      66 Notary:
          27    MERSMINNumber: lZ8"4E18"07"00                                 67 Obiigee:
          28    Notary(ies):               §おmmy M〇回回b容                       68 Ob=gor:
          29    Purchase Price:              軋417タロ00                         69 Originator:                  Countrywide Secu「ities

          30    PresentVaiue:                 礼帽1,間口                          70 Rating Agent:                Moodys
          31    PostingAgent:              拙さ「円巳的門口回「p                        71 Registrar:
          32    Rescission Date                13一§印"1日                        72 SEC Accession #             OOOO90与148-07-002733

          33    TitIeCompany               Fd輔y Nati。間! TitI2 l脚r訓電巳           73 S王C干ile#:                   333-131591-16
          34    TDOSBuver:                 N帥日                                 74 Se看ier:

          35   Trustee (Original);         日TE R閑I Est己t巳§2「ViC臨               7与Sponsor REMICTrust:          Countrywide Securities
          36    Trustee(Substitute): PRLAP間口                                   76 Swap Agreement:
          37   Trustee (ForecIosure):日日ElrR脚n囲回「p                              77 Tax Services                Countrywide Financial Corporation
          38    UCC/LandTrust                                                  78 Trustee (Depositor):        Bank of New York
          39    Underwriter(Loan):                                             79 Trustee (lnvestor):
          40    YieIdSpread(Mtg):                                              80 Trustor (REMIC/Bond):       Countrywide GP, lnc.
             RESEARCHER PROMPTこ                 Items may not exist o「 be ysl Wal.ehouse Lender (Scty): BA Funding Corporation

         found WITHOUT Borrower and Creditor Assistance                   82 Yieid Spread (Bond);          BA Securities

               HersID IS YOUR REGiSTRY of Homeowne「s Examination of Recordations, Securitizations and lntermediaries Documented

                  MO丁TO: Banksters, Barristers, Lega=stas & Politicos DO NOT Hold TitIe to THEAMERICAN DREAM!

         CIientSIGNATURE                      丁RÅ量」OFÅu丁HOR看丁Y.M                                    AcknowledgeandAccept:
                                                          BYTI丁」車丁RÅIL,L」C                               Account:



                                     Sec〃riiizaiions,DOTResc短ions,Mor略age Date:

         Emaii: PHON亡:
         Date:             Et,iくわncialyRecords〆‘RealEstaie,Loan

                                                              署霧露窪嵩警禁露盤聖霊誓Com
                                                                        Reviewer:




                           HersIDtm AppIication 2018-1 Copyright 2010, 2018 by Charles J. Koppa, San Diego, CA Reprint With Permission.
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                                             高FOR JUDICIAL NOT看CE"

                            Exce「pted from White House.gov LAW & JUS刊C臣


 EXECUT漢VE ORDER BLOCKING THE PROPERTY OF PERSONS
INVOLVED IN SERIOUS HUMAN RIGHTS ABUSE & CORRUP丁ION

                                                 Issued on: Decembe「 21, 2017
       “sec. 13. This order is not intended to, and does not, C「eate any righto「 benefit, Substantive o「


       proceduraL enforceable at law o「 in equity by any party againstthe United States言ts
           departments, agenCies, O「 entities言ts o冊cers, emPIoyees. o「 agents, O「 any Othe「 pe「son.


  Signed By; DONALD J“ TRUMP, President, THE WHITE HOUSE, Decembe「 20, 2017,,

           “〇〇°“〇〇〇〇〇〇〇〇l"“〇〇〇〇〇 °“○○“〇〇〇〇〇〇〇〇°““““〇〇〇〇〇〇〇●"賀〇°〇°〇° 〇一°“○○〃○○●〇〇〇〇〇〇〇〇°〇〇 〇〇〇〇〇〇〇〇〇〃〇〇〇〇〇〇〇〇〇 〇〇〃〇〇 〇〇〇〇 〇〇〇〇〇〇°“〇〇〇〇〇〇〇〃"i“




             US COUR丁SYSTEM 2018: A NON」UDIC!AL ROLE
  佐川訓77TY CLA棚S `AT LAW” TO                                            @) PERSOML SET7-しEMEN了S TN EQU/rY"


                   (A) `A批)mey AT LAW’vs (B) Counse〃聖W EQUTY,

In modem p「actice’perhaps仙e most important distinction between `Iaw’and `equity,
is伽e set of remedies each offeus. Most common Iaw/civii remedy in a CouhATLAW
is an awa巾of “monetary damages.,, A CouIでW EQUITY however基enters
`軸junctions or decrees” direc軸g someone e軸e「 to act or to f〇両ear from acting,



   1 What does:“at law’’or:“in ecluity” mean? “AT LAW,” the term “iegal,, 「efe「sto a set of
       remedies a=d associated p「ocedures invoIved with civil law.” Equ舶b/e Doct所)eS" and

         P「O∞dures are djstinguished f「om当egal-1 ones … Today’s court w=i typica=y award
         equ舶ble remedies “iN EQU!TY” when legai remedy is hsu櫛cient or /nadequate.


   2     What js the d肺erence between a leqaI and an equjtable remedy? Equitable remedies are
         related to faimess, aS OPPOSed to the actua/ monetary damages suffe「ed as the 「esuIt of a
         breach. One common type of equitab書e remedy used when the goods are unique is ca=ed
         ’’spec輔c perfomance“一〇 a COurt O「de「 「equiring the nonpe爪ommg partyto cany out the

         exact terms of the cont「act.



   皇       What言問? The natu「e of equity: EvaIuate佃s statement by
         「efe「en∞ tO the nature and pu甲ose ofEqu句ytodey・ The term “equity” is in a generai
         SenSe, aSSOCiated with notions ofね;mess, mO伯my andjus的e h ethical


   4    What are p而ciples ofeauitv? Maxims ofequity a「e iegaI maxims that serve as a set of
         generaI p血cipies or rules to gove「n the way in which EQUITY operates‥‥ They were
         developed by the English Court of Chancery and othe「 courts that admjnister equity

         jurisdiction administration言nciuding肋e /aw of tr[/Sfs.


   宣     Ne∞SSitvforeauitv to develop? This is because the rules already estabIished in the
         COmmOn law courfe we「e readiIy adopted and incorporated into the systems of equity...
         Concurrent jurisdictionこ「efe「s to the new wide range of 「emedies that the equfty system
         developed for the enfo「∞ment Of 「ights, rm at law a哩in equity÷
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   宣   What are the principa=eqaI and equitable remedies? The distinction between types of re=ef
       granted by the courts is due to the C〇両S Of Equity, SuCh as the Co血Of Chancery in
       England, and still avai漢able today in most common lawjurisdictions…・ Where the「e are
       a variety of eq山table remedies, but the p「incipa寒「emedies a「e Wuncf;ons・


   7   What is equitabIe remedv? Actions that the court p「escribes which witl serve to reso!ve
       the b「each or dispute・ Equitable remedies a「e typicaliy granted when legal remedies or
       monetary compensation cannot adequate!y res○○ve the w「ongdoing o「 faiiu「e to
       resoive issues between the parties. Se則ement in Equity has no Plaint冊and no
       Defendant - On!y a Fede「al Judge to hear the persona! claimants’


   宣   What are some examples ofeauitv? Put simply, equity is ownership" ln the trading world,
       equity 「efers to stock. 1n the accounting and co「PO「ate lending wo「ld, equity (Or mOre
       commonIy, Sha「eholders’equity) refe「s to the amount of capitaI contributed by the owners
       Or the d冊e「en∞ between a company’s total assets and its totaI iiab皿ies"



   9   What is the Principle ofEquitv? Powers ofa Court in Equity derive f「om the Phncjple of
       塑. A ∞urt in equjty is necessary,帥st, tO SuPPly the progressive defects of
       common law, and, neXt, tO COmeCtPersOnal /所usf;ce of Courts At Law〃


   二世What is an eauitv case? A couh/n equify is one which administe「s justi∞, Whe「e there
     are lega両ghts or NO legai rights; but couHs atねwdo not afford a compIete remedy’and
       where the complainant has a!so an equitab看e right beyond Actions AT LAW"


   止What」s an example:of an equ岬An example of a lega! 「emedy is monetary
       damages. An example of an equitable remedy is an hルmfrorh The origin ofthe
       distinctions between the two types of remedies /s histo所oa/. The American Iegal system is
       based upon Engiish common Iaw, Which maintains separate Coし而s “ATLAW’’and “型
       EQU/TyL” The US Court System COMBINES both types fo「 Fede「aI Judges〇


   二L2 What are common law remedies? When lawye「S taIk about ’’remedies at law,’“ they are
      talking about money damages" For breach of cont「act cases’the「e are seve「al d冊erent
       types of monetary remedies. Compensatory damages a「e the most common breach of
       COntract remedy,


   13 What is the d肝erence between eauitv and iusti∞? Equity has to do with eve「yone having
       access to fair and equai treatment unde「 the Iaw, 「egardless of 「a∞, SOCial cIass o「 gender.
       Social Justice extends the concept of equity to inciude human rights as part ofthe social
       COnt「act.



   上皇What is the concept of equitv? it is genera=y ag「eed that equity implies a need for faimess
       (not necessa刷y equaiity) in the dis佃bution of gains and losses, and the ent研ement of
       eve画・ The concept of equity is weil
       entrenched in intemationa=aw.


   王室What is a ∞し而Ofequitv? n. or鳴inaIly in EngIish common law and in seve「al states, the「e
     were sepa「ate courts (Often ca=ed chancery cou巾S) which handIed lawsuits and pe輔OnS
       requesting 「emedies other than damages, SuCh as w亜S言njunctions and specific

       Performance. G「adua=y the courts in equity have me「qed with courts at iaw.
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    哩What is an equitable 「emedv in contract law? There are several remedies a court can
       impose on parties in a breach of a contract case: reSCission, reSf/tuf/on, SpeCifro
       pe1すo仰anceタ/旬uncffonタrefomauon or quasi-COnf帽ct


    ユヱWhat is an equitabIe action? Equ舶ble C看aims" A plain肺Who seeks equitable 「e=ef is
      asking the ∞urt for an injunction. An injunction is a co血O「de「 compe冊g a party to do o「
       refrain f「om doing a spec緬ed act.



    ニ坦What 「emedies include specific perfermance? Spec輔c performance is an orde「 of a co血
       which 「equi「es a party to perferm a spec輔c act, uSuaily what is stated in a cont「act. 1t is an
       aite「=ative to awa「ding damages and is classed as an equitable remedy commonIy used in
       the form of injunctive relief conceming ∞nfidentia=nfomation or reaI propehy・


    二L9 What is the laW of equitv? ln Iaw, the term ’’equity” 「efers to a set of remedies and
       associated procedures invoIved with civi=aw. These equitable doct而es and p「ocedures
       are distinguished from一一Iegal一一ones" … A coし而W冊ypica=y award equitabIe remedies
       When a legal remedy is insu怖cient or inadequate"


    型What is equitabie in law? Equitable refers to something cha「acte巾zed by fainess,
       inpa万/al柄orIack ofbias.一一Equity一一is the name given to the whole area of
       the legal system in ∞un面es foIIowing the Eng=sh ∞mmOn Iawt「adition that reso!ves
       disputes between persons by apptying principles of faimess and justness, nOt
       monetary decisions.


    2_1 is equitv law? In ju「isdictions fo=owing the Eng=sh common law system, equity 「efers to
       the body of law which was developed in the Engiish Coし而Of Chancery and which is now
       administered concurrently with the common law. it is cha「acterized by equfty or
       fairness; just and right; fair; reaSOnab!e: equitable treatment of a!l c軸zens・



   22 What is equitv underthe law? ln its b「Oadest sense, equity is faimess. As a legal system言t
       is a body of law that add「esses concems that fa= outside thejし面sdiction of Common
       Law, Equity is also used to descrtoe the money value of prope巾「 more than claims申ens,
       O「 mOrtgageS On the prope巾「.


    2± What are the principles of equity? Powe「S Of a Court in Equity derived f「om
       the P巾nciple of Justice. A court in equity is necessa「y,乱st, tO SuPPiy the defects of
       COmmOn Iaw, and, neXt, CO晴eCt its巾ght o「 injustice二


    24 What is the d苗e「ence between equai and equitable? Equal/equai!y means the ±窒岨
       Whe「eas equitable/equitabiy means重出・ Fo「 exampie言f you have two groups and both
       「eceive 50% of a resou「ce that can be equal division but may not be equitabie.’



   埜What is the con∞Pt Of equity? lt is gene「a=y ag「eed that equity imp=es a need fo「 faimess
       (not necessa「iiy equality) in the dis師bution of gains and losses, and the entitlement of
       everyone to an acceptabie qua冊y and sta=da「d of =ving"丁he concept ofequity is we=
       entrenched in internationa=aw.


    2旦What is ethics and e。uity? EQUITY MEANS SOCIAL JUS丁ICE. Equity means sociai
       justi∞ O「faimess; it is an ethicaI ∞n∞Pt, g「Ounded in p而Ciples of dis師butive
       justi∞. Equity in health can be-and has wideiy been」efined as the absen∞ Of socia=y
       unjust o「 unfai「 health disparities


  G0OgIe research By Charles 」・ Koppa, Title TraiI′ LLC March 8′ 2017 opinion2@vahoo.com 442-444-8417
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     When reco「ded mail to:                                                                                        PAG巨S. 23
     1672 Main 5t「eet, 153E
     Ramoれa, CA 9之0節

                                                               量

                    This noti亡e muSt be indexed a§ foIIows: Grantor and G「antee !ndex、 Each cla面ant is a grantor




     NOTICE OF INTたNT TO PRESERV各INTEREST IN R冨AしPROPERTY
                                         (鯖旧o「nIさC刷code丁融雪. ! 88o.う40 &的0,弱o)


     This notice is intended to p「eserve any interest ln reaI property from extinguishment o「

     fo「ecIosu「e pursuant to Title 5 (COmmenCing with Section 880,020) af Part of Division 2 ofthe

     California Civ= Code (Ma「ketさbIe Record Title).


     1.     CしAIMANT: H畦rio Gonzales, husband in Community Property with rights of

     survivorship, reaI property 3O945 Cuvaison, Bons訓, CA 92003. Ma臨g address, 30945

     Cuvaison, Bon§a=, CA 92003, herebY decぬre‥


     2.     CHARAC「ER O印NT珊EST: l am the legal owner with fu旧nte「est in Land Title to real

     PrOPerty Situated in the Cfty of BonsalらCounty ofSan Diego, State of Ca輔bmia. 1t was

     pu「chased f「om the previous owner, LB/し・EPAC Rancho Camargo, 」LC言Cu「「ently hold the
     G「ant Deed hereto desc「ibed mo「e fu=y in Exhibit ’’A,’’Doc♯ 2006-0476640, APN 126-490-07ノ

     with recordedしegal De§Cription attached and made a part thereof.


     3.      RECORDしOCATION: CIaimants' reco「ded interest in the L∂nd TItIe exists in a Grant

     Deed. reco「ded on 」uiy 6, 2006, aS Doc線1006-0476640, Order No. 98338与8, Escrow No. 13379-
     SMK, in the O節ciaI Records, San Diego County Recorder’s o鮒ce, San Diego, Ca=fo面a.




          詰ま雷‡蕊器霊豊誓 n the u雨o叩o融a「e8 Of the Countγ Of S帥Diego・ §t8te Of

          払R畦上:
          Lot旦Of Countγ Of San Diego丁「act N〇・ 6O37葛3・ 8cc○「ding to Mep thereo川o. 14899, filod in the
          Otfice o白he County REcO鵬r of San Oiogo CountY Novembe「 3, 20O4.


          膝§珊VING TH輸E軸OM for the bene書jt ofa!一O…ers With面AG∪ACATIE RANCH COMMU剛TY
          ASSOCIATiON・ a Califomi寄nonPrOfit mul山al bonefit co「po「8tion′ a nOneXO一∪81ve ea6ement On 8∩d over
          the Common A「e叩rivきte st「eets and ent「y gat〇・ Bs d8fined 8nd depicted in the DecIarat!on herein8fter
          rofo「「ed t〇・ fo画ngress・ egro節・ 8nd函ate 'O8d p叩oses′ including the晒t to acces3 and maintain sald
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Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.211 Page 35 of 39




    聡蹄VING uNTO GRANTOR’it8関c○O劇場ond締$i8nさ・ tPgether with the r屯ht to即的t孤d trarusfer atl o「
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    howev倍r′ any噂ht to en柳UPO‘一the ourface of th8 ian{=n t鴫e糊rCise of suc両gh章合・


    同種THE揃ES輔VING UNTO GRANTOR・ lTS SUCCESSORS AND ASSlcNS,丁OGETH蛾WITH丁HE削GHT
    TO GRA討T AND TRANS睡B ALしOR A roRTION OF SAME’紋cePt俺押nted he嶋bY, O購曾ment$ and
    鴫hts鳩eerved bγ Glanto「 as耽c加ant and Own3r in the Declara鯖on he「ein8競r rofem鵡to.


    塑軒既しみ
     e$ementS an掴ght8 tor tlle b帥efit of Grante〇日さ$et fo競h irrthe Decぬr8tion desc駒ed below.


   逮坦蜂壇上q :
    1.   Cur「ent nondelinquem陶al p「op種rtytaxes 8Ild aIl rlonde-inquent unp調印ne贈l and sp鯵ぬl




   2・    That certah Decl種調fron o( Covenants′ Condjtio憎and嘱cstrfetio悩’eCO鴫nd De∞mber 1 2, 2Oo1
           縛Instrument No. 2OOトO91 2649. ond Su陣ねm脚tary Dce18博tlon of Cove調n館, Condition8 and
            fro$くr闘on8鴫c○rded Maroh 2B′ 2OO巨as lrmrment No. 20O5俄52122, bot吊n O純ぬI Rocords
           Of San Dl吋o Caunty, Califomfo, end onγ amondment8 the調to (coItorot高eIγ th〇 °Decl種○○tion当, Ond
           〔he covenant8′ cOnd師o能′ reSくl.Iction$, O種seIt鳩nts′ ri8ht$. r憾ervetion3. benefit$如d bu「den容
           tl.暢r色in ∞ntal鵬d′ e種Ch 8nd 8= of whieh un herebγ 8坤r購印inc岬的ted her8in by融eren∞ aS
           くれou帥$a( ou書he調iタロn鮎上


   3・    A" other covenants. c○nd輔ons.調Btrictio能, re$orVatio能, right3,鴫hta-OトwaY, end eesemen鳩o(
           「ecord ondfor ao○a能m.



   5。    PuRPORTED O帆IGATiON: On 」uly 6, 2006, a Deed of T「ust on behaIf of America-s
   WhoIesaleしenders was recorded on this same property pur.suant to a presumed contract

   COnCe「ning the loan of a suni of money between said Bank and ourselves as Trustors. Exhibit
   ‘′B’’is the face page of the recorded Trust Deed, document ♯ 2006-076641.



   6.    S丁ATuTORYしAW: I am knowledgeab!e of some federal statutes gove「ning consumer

   rights to rescind a当oan’t under TllA and/。「tO enfo「ce R〔SPA. FDCPA, FTA, Or Fa弧.面tia書

  actions 「elied on the unanjmous U.S. Sup「eme Court Decision i両eslnoski v. Countrywide,

  January 13, 2015. (See rat碗atlon by Hono「abIe Justice S館Ifa, marked a$ Exhibit “C.”)
Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.212 Page 36 of 39




           BY this ratification. past requirements for judlcia旧ien forecIosu「e defense against debt

   collection entities by bo「roweI.S are nOW 「ePねced bY borrower’s no可ud椙al enforcement to

   「etum us to一一status一一existing befo「e a debt obligation was面tiated. Past Ienders/credito「§/

   debt collectors and/Or ”inte「meく彊両es当o「 the unknown original creditors o「 unknown present

   (secre申ien hoIde「s must have met TlしA/Federal Reserve Reg Z restitution activitγ W輔n one

   year after ou「 decision to resdnd鵬above.


          Creditors, lende「s′ debt coIIectors and agent§/servicers of investment fi「ms must

   immediately cancei anγ liens, 「eturn the Canceled O「iginaI Note, 「eCOnVey Deeds of

   Trust/Mortgages, reimburse訓p「ior loan paγmentS, fees and costs to borrower, and

   面mediatelY te「mi問te ALしCOLLECTION A⊂「lVITiES. TitIe documents 「esuIting from/after date

   of item粘above shouId be removed from CountY Land Reco「ds.



   7.   FINDINGS:   The Deed ofT「ust p「esumed contract is inva蝿fo「 the following 「eさSOnS:



           Events subsequent to the acceptance of ou「 Ioan app栂ation by Ame「ica’s whole$ale

   しende「5 reVea! that said Bank had no intention of fulf柵ng a mortgage ag「eement with me and

   insteed has done what itc紬to put me into default and confiscate my property. The「e was no

   meeting of the mjnds and a funding creditor was not p「e§ent, SO there was no contract.



          No cont「act document exjsts between America’s WhoIesaleしenders and myself

   committing said Bank to consummate with its own funds, tO‘be jointly signed bγ an Officer of

   8ank and myse帆


          Fa血re to prope「ly record and de=ve「 IegaI Notice of Substitution of t「ustee (from

   PRLAP,血., Trustee unkれOWn) fiIed with the CountY Recorde「/Assessor of San Diego CountY言s
   a fatal error, 「endering furthe「 transactIon actlvity VOID.



          My 「es髄rch finds that a旧equired discIosures under Trust Inしending Act (TiLAI wel-e

   not provjded. The Deed ofTrust which l aIone §Igned, WaS SeCu「棚ed by America’s wh。Iesale

   しende「s (”Bank〃〉 and sold o「 t「ansfe「red by them to unknown third parties and f nancial service

  entities without Notice or ∂PPrOVai bγ uS.



  8.    STATuTORY RESCISS10N COMP即ON: My Notice of TiしA Rescission was effective
  upon mai"ng of ce競ified letters. Evidence of not譜ication to ′′Bank′リーーLender●一/"T「ustee当s

  memoria!ized in Cen胴ed MaIi Reco富ds ca!led Exhibit "D-1:



          #7015 0920 0001 0576 4725 to America’s whoIesaIe Lender, dated Septembe「 13, 2016;


          #701与0920 0001 0576 4742 to C丁C Rea圧st鵡e Services, dated Septembe「 13, 2016;



          #7015 0920 0001 0576 4728 to Ms. Richardson輸Ca「en Wagne「e of Count「YWide Home
          しoans, inc., dated September i3, 2O16.
Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.213 Page 37 of 39




   9.    CしA!MANT VERl陣CATION: A demand fo「 the enfo「cement p「o髄ss was面tiated
   November 29, 2016, bY Certifiedしetter Notices. Evidence of notification to ``Bank′′/
   ''しenderl,/’Trustee当s memoria服ed in Cert請ied Mail Reco「ds calIed Exhibit ‘.EIl ;




           #7015 0g20 0001 0576与015 to Bayview Loan Servicing, dated November 29, 2016; and


           #ア015 0920 0001 0与76 5039 to Bank of America, dated November 29, 2016.



   10.   FOuNDATION DOCUM削丁S BY NEIしF. GAR耶しD. ESQ: The fo=owing ExhibIts一.F’’-甲
   Pertain to actions unde「 the 「eferenced Deed ofT「lISt, Wherein the owne「ship under the
   referenced Grant Deed is not affected:


           Exhibit -I戸’-    Resdssion Su請mさけaS I See lt,母鼻4/20宣う.

           Exhibit ’一G” ∴ 20 Days for Banks to甜eしaws面t or W∂ive Any Claim, 6/22/之015,
           Exhibit ’’H’一     Old Habit5 Die Ha「d Despite SCOTUS Decision Cla「ity, 6/26/2015.

           Exhibit “l一’     しawyers fo「 Bank§: lgnore Rescission at γOu「 Per時lO/21/2015.

           Ex佃陳"」一)        why T肥I Rescissjon Makes Perfect 5ense, 1O/26/ZO15.



   11.   ACKNOWしEDGEM剛T: L Hila「io Gonzaies, aSSertthat this notice is not l.eCOrded fo「the

   PurPO§e Of slandering t軸e to 「ea恒「OPerty. I declare und?r Penafty of pe申Iry unde「 the laws
   Of the State of Ca晒ornia that the fo「egoing Is t「ue and c:Orrect tO the best of ou「 pe「sonaI




   輔霊e軸s生勾of後生一柳t盈紘一




   (Certificate of Notary Acknowledgement Attached)




                            星図四囲
    Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.214 Page 38 of 39




                   C田鞠“寡FICAT賀ON剛ADEuND駅P副AIJYOFP日刊uRY



                                    (Code of CivIl陣Oceduro 201 5,5)




        i declare unde「 penalty of periu「y unde=he laws of the State of
        Califo「nia tha=he forく均Oing is t田e and co「rect.




          Signatu「e二




    Place of E*ecution二                                               D如血色訪フ




        Rec、口)m *R7 (持v8ed 3ゼ㌻16)




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Case 3:19-cv-00050-BAS-AGS Document 10 Filed 04/24/19 PageID.215 Page 39 of 39




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   Who proved to me on the basi$ Of satioねctory evidence to be the pe「son(S) whose name〈s) is/are
   Subscribed to the w軸n instrument and.acknowledged to me that he/she伶hey executed the same in
   histhe明heir authorized ca拘Cfty(ie執and that by his爪e幽heir signatし鵬(S〉 on the instrument the pe鳩On(S),
   or the e∩tity upon beha討of whIch the per$On(S) acted, execUted the jnstrument,

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                                                    Of the State of Ca冊omia that the foregoihg ParagraPh
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  ロTrust合e              ロGuardねn o「 Conservator        口TrUStee          □ Gu亀巾ian Or Conservator
  口のher:                                               口Othe「:
  Signer ls Ftepresenting;                             Signe自§ Ftep記s創ting:




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